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                 AAS, GOrk             UNITED STATES DISTRICT COURT
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by:                                FOR THE NORTHERN DISTRICT OF GEORGIA                                 JUN 16 2003
                                             ATLANTA DIVISION
                                                                                               CUTHE      4T         , CIs*
              UNITED STATES OF AMERICA,

                                                                                                               Dripuly Clerk
                             Plaintiff,
                                                                    Civil Action No. 1 :00-CV-3142 JTC
                                     v.
                                                                    CONSENT DECREE
              COLONIAL PIPELINE COMPANY,

                             Defendant.




                       BACKGROUND

                       A.    Plaintiff, the United States of America ("United States"), through the Attorney

                             General, at the request of the Administrator of the United States Environmental

                             Protection Agency ("EPA"), filed a civil complaint ("Complaint") against

                             Defendant, Colonial Pipeline Company ("Colonial"), pursuant to the Clean Water

                             Act ("CWA"), 33 U.S .C . §§ 1251 et seq., seeking injunctive relief and civil

                             penalties for the discharge of oil into navigable waters of the United States or onto

                             adjoining shorelines .

                       B.    The Parties agree that it is desirable to resolve the claims for civil penalties and

                             injunctive relief asserted in the Complaint without further litigation .

                       C.    This Consent Decree is entered into between the United States and Colonial for

                             the purpose of settlement and it does not constitute an admission or finding of any

                             violation of federal or state law. This Decree may not be used in any civil

                             proceeding of any type as evidence or proof of any fact or as evidence of the

                             violation of any law, rule, regulation, or Court decision, except in a proceeding to




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     enforce the provisions of this Decree.

D.   To resolve Colonial's civil liability for the claims asserted in the Complaint,

     Colonial will pay a total civil penalty of $34 million to die United States, comply

     with the injunctive relief requirements in this Consent Decree, and satisfy all other

     terms of this Consent Decree.

L.   The Parties agree, and this Court by entering this Consent Decree finds, that this

     Consent Decree and these civil penalties and injunctive relief solely address the

     acts and omissions of Colonial alleged in the Complaint and do not address the

     alleged acts and omissions of any other person or entity.

F.   The Parties agree, and this Court by entering this Consent Decree finds, that this

     Consent Decree has been negotiated by the Parties in good faith, that settlement of

     this matter will avoid further litigation between the Parties related to the claims in

     the Complaint, and that the settlement embodied by this Consent Decree is fair,

     reasonable, and in the public interest .

G.   This Consent Decree constitutes the final, complete and exclusive agreement and

     understanding among the Parties with respect to the settlement embodied in this

     Consent Decree, and the Parties acknowledge that there are no representations,

     agieernenis or understandings relating to the settlement other than those expressly

     contained in this Consent Decree.




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       THEREFORE, with the consent of the Parties to this Consent Decree, it is ORDERED,

ADJUDGED AND DECREED:

IL     JURISDICTION AND VENUE

1.     This Court has jurisdiction over the subject matter of this action and the Parties pursuant

       to 28 U.S .C . S§ 1331, 1345, 1355, and 33 U.S.C . §§ 1319(b) and 1321(b)(7)(E) .

2.     Venue is proper in this Court pursuant to 28 U.S.C . §§ 1391(b), 1395(a), and 33 U.S.C.

       §§ 1319(b) and 1321(b)(7)(E) .

3.     For the purposes of this Consent Decree and the underlying claims of the United States,

       Colonial waives all objections and defenses that it may have to jurisdiction of the Court

       or to venue in this District . Colonial consents to and shall not challenge entry of this

       Consent Decree or this Court's jurisdiction to enter and enforce this Consent Decree .

III.   PARTIES BOUND

4.     This Consent Decree applies to and is binding on the United States and on Colonial and

       its successors and assigns . Any changes in Colonial's ownership or corporate status shall

       in no way alter Colonial's responsibilities pursuant to this Consent Decree. Nor shall any

       change in the ownership of all or a portion of the Pipeline System in any way alter

       Colonial's responsibilities pursuant to this Consent Decree. If Colonial transfers

       ownership of any portion of the Pipeline System to any other entity, Colonial nevertheless

       shall fulfill all requirements of this Consent Decree regarding the portion of the Pipeline

       System so transferred.




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IV .   DEFINITIONS

5.     Unless otherwise expressly provided herein, the terms used in this Consent Decree that

       are defined in the CWA, or the regulations promulgated thereunder by EPA, shall have

       the meaning assigned to them in the CWA or in such regulations. Unless otherwise

       expressly provided herein, the terms used in this Consent Decree that are defined or used

       in the Pipeline Safety Act ("PSA"), or defined or used in the regulations promulgated

       thereunder by the Office of Pipeline Safety ("OPS"), shall have the meaning assigned to

       them in the PSA or in such regulations promulgated by OPS. In the event there is a

       conflict between CWA/EPA or PSA/OPS defined terms, the PSA/OPS meaning shall

       apply to any term or issue arising under, or relating to, Section VI of this Consent Decree,

       and the CWA/EPA meaning shall apply to any term or issue arising under the remaining

       provisions of this Consent Decree . Whenever terms listed below are used in this Consent

       Decree, the following definitions shall apply:

       a.       "Best Professional Judgment" shall mean engineeringjudgment based on the

                application of scientific and mathematical principles to the design, construction,

                operation, and maintenance of pipeline systems, with such judgment exercised by

                a suitably qualified person .

       o.       "Catnodic Protection System" shall mean a system to prevent the corrosion of a

                metal surface by making drat surface the cathode of an electrochemical cell with

                the use of impressed current or galvanic anodes, as required by OPS regulations,

                49 C.F.R. Part 195 .

       c.       "Close Interval Survey" as used in OPS regulations, 49 C .F.R . Part 195, shall


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         mean an inspection of the catholic protection system at specified intervals

         (distances) looking for deficiencies in the system through testing and visual

         observation.

d.       "Consent Decree" or "Decree" shall mean this document .

e.       "Colonial" shall mean Colonial Pipeline Company, the Defendant in this action,

         and its successors and assigns.

         "CWA"shall mean die Clean Water Act (CWA), 33 U .S.C . §§ 1251 et seq.

g.       "Damage Prevention Program" shall mean a written program to prevent damage

         to the Pipeline from Excavation Activities within the meaning of OPS regulation

         49 C.F .R . § 195 .442(a) and that is subject to audit and enforcement by OPS

         pursuant to OPS regulation 49 C .F .R . § 195 .402 .

         "Day" shall mean a calendar day unless expressly stated to be a working day.

         "Working Dad" shall mean a day other than a Saturday, Sunday, or Federal

         holiday. In computing any period of time pursuant to this Consent Decree, where

         the last day would fall on a Saturday, Sunday, or Federal holiday, the period shall

         nn until die close of business of the next Working Day.

         "Depth of Cover Survey" shall mean an inspection of the Pipeline in accordance

         with Colonial Engineering Standard ES-03-102 and Colonial's Best Professional

         Judgment to measure the depth of cover over the Pipeline .

         "DOJ" shall mean the United States Department of Justice.

k.       "Engineering Standards" shall mean those engineering standards developed by

         Colonial that are specifically referenced in this Consent Decree.


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L        "EPA" shall mean the United States Environmental Protection Agency and any

         successor departments or agencies .

m.       "ES-03-102" shall mean Colonial's Engineering Standard titled "ES-03-102,

         Exposed Pipe Assessment and Repair," Issue No . 1, dated August 7, 2000, or any

         updated version for the duration of this Consent Decree that is no less stringent

         than the referenced version.

n.       "ES-14-101" shall mean Colonial's Engineering Standard titled "ES-14-101,

         Right-of-Way (ROW) Clearing, Marking and Maintenance," Issue No. 2, dated

         March 26, 2001, or any updated version for the duration of this Consent Decree

         that is no less stringent than the referenced version.

o.       "Excavation Activities" shall mean the activities set forth in OPS regulation 49

         C .F.R . § 195 .442(a), which includes excavation, blasting, boring, tunneling,

         backfilling, the removal of above-ground structures by either explosive or

         mechanical means, and other earthmoving operations .

p.       "Exposed Pipe" shall mean any portion of buried pipeline that is unintentionally

         exposed, other than those situations described in OPS regulation 49 C.F.R . §

         195 .254 .

y.       "High Consequence Area" shall have the meaning set forth in OPS regulation 49

         C .F.R . § 195.450 .

r.       "II.I" shall mean in-line inspection.

s.       "Independent Monitoring Contractor" shall mean the Independent Monitoring

         Contractor selected pursuant to Section VII of this Consent Decree.


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t.       "Integrity Management Program" shall mean the written Integrity Management

         Program required by OPS regulation 49 C.F .R . § 195 .452(b) and that is subject to

         audit and enforcement by OPS pursuant to OPS regulation 49 C .F.R . § 195 .402 .

u.       "Maintenance Manual" shall mean Colonial's manual(s) of written procedures for

         conducting normal operations and maintenance activities and handling abnormal

         operations and emergencies required by OPS regulation 49 C .F.R . § 195 .402 .

v.       "NACE" shall mean the National Association of Corrosion Engineers.

w.       "NACE Standard RP0169-96" shall mean the document titled °NACE Standard

         Recommended Practice - Control of External Corrosion on Underground or

         Submerged Metallic Piping Systems (NACE Standard RP0169-1996)," which is

         incorporated by reference into OPS regulations at 49 C .F.R . §§ 195 .3 and

         195 .571 .

x.       "One-Call System" shall mean a system which complies with OPS regulation 49

         C .F.R . § 195 .442(b), whereby interested members of the public may, without

         charge, obtain information about the location of a buried pipeline .

y.       "OPA"shall mean the Oil Pollution Act of 1990, 33 U.S.C. §§ 2701 et seq .

z.       "OPS" shall mean the Office of Pipeline Safety within the Research and Special

         Programs Administration of the United States Department of Transportation .

aa.      "Paragraph" shall mean a portion of this Consent Decree identified by an Arabic

         numeral .

bb .     "Parties" shall mean the United States and Colonial.

cc.      "Pipeline" shall mean all portions of the Pipeline System comprising line pipe,


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       including all main lines, stub lines, and delivery lines, except as provided in OPS

       regulation 49 C .F .R . § 195 .1(b) .

dd .   "Pipeline System" shall mean the existing system owned by Colonial as of

       January 17, 2003, that is used for transporting gasoline and other petroleum

       products and includes approximately 5,500 miles of pipeline running between

       Texas and New Jersey, and associated delivery lines, stub lines, structures and

       buildings used for operations and administration, control equipment, pumps,

       valves, breakout tanks, storage tanks, and other equipment used in the operation

       of the Pipeline, and any extensions to the existing system as of January 17, 2003,

       constructed during the pendency of this Consent Decree, except as provided in

       OPS regulation 49 C .F .R . § 195.1(b) .

ee.    "PSA" shall mean the Pipeline Safety Act, 49 U.S .C . § 60101 et seg.

f£     "Responsible Corporate Officer" shall mean (i) the president, secretary, treasurer,

       or vice-president of the corporation in charge of a principal business function, or

       any other person who performs similar policy or decision-making functions for

       the corporation, or (ii) the manager of company-wide operations or system

       integrity functions, provided the manager is authorized in writing by one of the

       individuals in section (i ) above, to act as a responsible corporate officer for

       purposes of this Consent Decree.

gg.    "Right-of-way," as used in OPS regulation 49 C.F.R . § 195 .412(a), shall mean

       land space in which Colonial has legal rights to locate its pipeline or other

       facilities and where a Pipeline is actually located.


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hh .      "Right-of-way Reclamation," as used in Colonial Engineering Standard ES-14-

          101, shall mean removal of trees and other obstructions from a right of way with

          specialized equipment and personnel, typically involving tree cutting, side

          trimming and re-landscaping activities .

ii.       "Section" shall mean a portion of this Consent Decree identified by a capitalized

          Roman numeral .

jj.       "Shallow Pipe" shall mean Pipeline that, although buried, does not contain

          sufficient cover to prevent damage to the Pipeline, as determined by Colonial's

          Best Professional Judgment through application of Colonial's Engineering

          Standards, as distinct from the pipeline construction standards at OPS regulation

          49 C.F.R . § 195 .248 .

k1:.      "Submit" shall mean any of the following: (1) place in certified mail in a properly

          addressed envelope with sufficient postage; (2) tender to an overnight courier in a

          properly addressed envelope, and prepay the delivery fees ; or (3) hand deliver and

          obtain signature of recipient.

          "Subparagraph" shall mean a portion of this Consent Decree identified by an

          upper or lower case letter .

r.... .   "ihiiu-party cxcavaiion" snail mean Excavation Activities conducted by persons

          other than Colonial or its contractors.

nn.       "United States" shall mean the United States of America, including its

          departments, agencies, and instrumentaGties .

oo.       "Water Crossing" shall mean a location of the Pipeline that crosses under a water


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            feature, as identified on United States Geological Survey topographical maps.

     pp .   "Water Crossing Inspection" shall mean an inspection of a Water Crossing in

            accordance with Colonial's Engineering Standards and Colonial's Best

            Professional Judgment .

V.   GENERAL PROVISIONS

6.   Compliance with Applicable Law . This Consent Decree in no way affects or relieves

     Colonial of its responsibility to comply with applicable federal, state, and local laws,

     regulations, and permits. Incorporation of the requirements in Section VI of this Consent

     Decree into Colonial's Maintenance Manual and Damage Prevention Program will render

     those requirements enforceable by OPS under the PSA and its implementing regulations,

     and enforceable by EPA only as specifically provided in this Consent Decree.

     Notwithstanding Colonial's incorporation of the requirements in Section VI of this

     Consent Decree into its Maintenance Manual and Damage Prevention Program, EPA

     shall maintain the authority to enforce the terms of this Consent Decree, including : (a) the

     obligation to make the designation and Maintenance Manual and Damage Prevention

     Program incorporadons required by Paragraphs 8-14 herein ; (b) die obligation to maintain

     for the duration of this Consent Decree the designation and Maintenance Manual and

     Damage Prevention Program incorporations required by Paragraphs 8-14 herein ; (c) the

     obligation to make available to the Independent Monitoring Contractor the information

     required by Paragraphs 9, 10 and 14 herein ; (d) the obligation to hire a qualified

     Independent Monitoring Contractor and related obligations set forth in Section VII; (e)

     the obligation to pay the civil penalty of $34,000,000.00 set forth in Section VIII ; and (0


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      the reporting requirements set forth in Section IX. Colonial shall perform all work

      required by this Consent Decree in compliance with the requirements of all applicable

      federal, state, and local laws, regulations, and permits. Except as expressly provided

      herein, the parties agree that compliance with this Consent Decree shall be no defense to

      any actions commenced pursuant to federal, state, and local laws, regulations, and

      permits. This Consent Decree is not, and shall not be construed as, a permit issued

      pursuant to any federal, state, or local statute or regulation .

      Permits . Colonial shall submit timely and complete applications for, and otherwise

      diligently seek to obtain, any and all permits or approvals from federal, state, or other

      governmental entities necessary to perform work that this Consent Decree requires .

VI.   INJUNCTIVE RELIEF

      Within 30 days of the effective date of this Consent Decree, Colonial shall amend its

      written Integrity Management Program, developed pursuant to 49 C .F .R . § 195 .452, to

      designate its entire Pipeline as pipeline segments that could affect a High Consequence

      Area. Colonial shall maintain such designation until termination of the Consent Decree

      in accordance with Section XXIII. Once the designation required by this Paragraph has

      been made, the performance of the obligations under 49 C .F.R . § 195 .452 are subject to

      oversight and enforcement by UPS
                                   . However, Colonial's obligation to maintain the

      designation required by this Paragraph shall remain enforceable by EPA under this

      Decree. hi the event that Colonial constructs Pipeline extensions to its Pipeline System

      prior to termination of the Consent Decree, Colonial shall designate such Pipeline in

      accordance with this Paragraph and maintain that designation in accordance with this


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      Paragraph .

9.    Within 30 days of the effective date of this Consent Decree, Colonial shall incorporate

      into its Maintenance Manual a provision that Colonial shall conduct a close interval

      survey of the cathodic protection system on its entire Pipeline every five years . Colonial

      shall maintain this requirement in its Maintenance Manual until termination of the

      Consent Decree in accordance with Section XXIII. In the manner specified in Section

      IX, Colonial shall make available to the Independent Monitoring Contractor retained

      pursuant to Section VII all close interval survey results. Once the incorporation required

      by this Paragraph has been made, the performance of the obligations under this Paragraph

      are subject to oversight and enforcement by OPS . However, the obligations to maintain

      the incorporation and make available the information required by this Paragraph shall

      remain enforceable by EPA under this Decree.

10.   Within 30 days of the effective date of this Consent Decree, Colonial shall incorporate

      into its Maintenance Manual a provision requiring Colonial's cathodic protection system

      to meet die performance standard in NACE Standard RP0169-96 Section 6 . This

      provision also shall require that, in the event that any close interval survey conducted

      after the effective date of the Consent Decree reveals any portion of the cathodic

      protection system that does not meet the NACE standard, Colonial shall perform

      appropriate repairs to the cathodic protection system necessary to bring that portion of the

      system into compliance with the NACE standard within one year of the discovery, as

      defined by 49 C.F.R . § 195 .452(h)(2), of the cathodic protection deficiency. Colonial

      shall maintain this provision in its Maintenance Manual until termination of the Consent


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       Decree in accordance with Section XXIII. In the manner specified in Section IX,

       Colonial shall make available to the Independent Monitoring Contractor retained pursuant

       to Section Vu information identifying all cathodic protection deficiencies and the

       associated repairs . Once the incorporation required by this Paragraph has been made, the

       performance of the obligations under this Paragraph is subject to oversight and

       enforcement by OPS. However, the obligations to maintain the incorporation and make

       available the information required by this Paragraph shall remain enforceable by EPA

       under this Decree .

11 .   Within 30 days of the effective date of this Consent Decree, Colonial shall incorporate

       into its Maintenance Manual and/or the Damage Prevention Program a provision

       requiring ongoing Right-Of-Way Reclamation, conducted in accordance with Colonial's

       Engineering Standard ES-14-101 . Colonial shall maintain this provision in its

       Maintenance Manual and/or the Damage Prevention Program until termination of the

       Consent Decree in accordance with Section XXIII. Once the incorporation required by

       this Paragraph has been made, the performance of the obligations under this Paragraph is

       subject to oversight and enforcement by OPS. However, the obligation to maintain the

       incorporation required by this Paragraph shall remain enforceable by EPA under this

       Decree .

12.    Within 30 days of the effective date of this Consent Decree, Colonial shall incorporate

       written procedures into its Damage Prevention Program and associated procedures

       requiring that Colonial personnel shall be on site for the duration of all third party

       excavation activities within five feet of the Pipeline . Such obligation shall be triggered


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      by one-call notice or notice in any other mamier or method (e.g., aerial patrol, right-of-

      way inspection) consistent with the requirements of OPS regulation 49 C .F .R. § 195 .442 .

      Colonial shall maintain these written procedures in its Damage Prevention Program

      provisions until termination of the Consent Decree in accordance with Section XXIII.

      Once the incorporation required by this Paragraph has been made, the performance of the

      obligations under this Paragraph is subject to oversight and enforcement by OPS.

      However, the obligation to maintain the incorporation required by this Paragraph shall

      remain enforceable by EPA under this Decree.

13.   Within 30 days of the effective date of this Consent Decree, Colonial shall incorporate

      into its Maintenance Manual a provision requiring Colonial to conduct, in conjunction

      with the close interval survey required pursuant to Paragraph 9, a depth-of-cover survey,

      and at all water crossings an inspection for exposed pipe and shallow cover. Such

      surveys and water crossing inspections shall be conducted in accordance with Colonial

      Engineering Standards and Colonial's Best Professional Judgment . Colonial shall

      maintain this provision in its Maintenance Manual until termination of the Consent

      Decree in accordance with Section XXIII. Once die incorporation required by this

      Paragraph has been made, the performance of the obligations under this Paragraph is

      Subject to oversight and enforcement by UPS
                                              . However, the obligation to maintain the

      incorporation required by this Paragraph shall remain enforceable by EPA under this

      Decree.




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14.    Within 30 days of the effective date of this Consent Decree, Colonial shall incorporate

       into its Maintenance Manual a provision requiring Colonial to address any exposed or

       shallow pipe in accordance with Colonial's Engineering Standard ES-03-102 within one

       year of the discovery of the exposed or shallow pipe . Colonial shall maintain this

       provision in its Maintenance Manual until termination of the Consent Decree in

       accordance with Section XXIII. In the manner specified in Section IX, Colonial shall

       make available to the Independent Monitoring Contractor information identifying all

       exposed or shallow pipe, including the date of discovery and location, and the remedy

       undertaken, if any. Once the incorporation required by this Paragraph has been made, the

       performance of the obligations under this Paragraph is subject to oversight and

       enforcement by OPS . However, the obligations to maintain the incorporation and make

       available the information required by this Paragraph shall remain enforceable by EPA

       under this Decree.

15 .   Within 45 days of the effective date of this Consent Decree, Colonial shall submit to EPA

       written notice certifying that it has made the designation and Maintenance Manual and

       Damage Prevention Program incorporadons required by Paragraphs 8 through 14 .

VII.   INDEPENDENT MONITORING CONTRACTOR

:S .   In accoiuance with one procedure in Paragraph 17, Colonial shall hire an Independent

       Monitoring Contractor ("IMC") to perform the duties in Paragraph 18 . Colonial's

       contract with the IMC shall require the IMC to perform all of the duties in Paragraph 18,

       to provide Quarterly Reports to EPA pursuant to Paragraph 20 based on all information

       that Colonial makes available to the IMC, acid to be fully available to consult with EPA


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       upon EPA's request within a reasonable time and upon reasonable notice . Colonial shall

       bear all costs associated with the IMC, cooperate fully with the IMC, and provide the

       IMC with access upon reasonable notice and with consideration of operational impacts to

       all records, employees, contractors, and facilities within the Pipeline System that the FMC

       deems reasonably necessary to effectively perform the duties described in Paragraph 18 .

       Other than expressly specified in this Consent Decree, neither Colonial nor the IMC shall

       be expected or required to generate any data or prepare any report not otherwise required

       by law or the express terms of this Consent Decree .

17 .   Hiring Process . Within 30 days of the effective date of this Consent Decree, Colonial

       shall submit to EPA a list of two or more proposed consultants to serve as the IMC along

       with their qualifications and descriptions of any previous work or contracts with Colonial

       Pipeline Company. Each proposed consultant must employ one or more registered

       professional engineers:

       a.     experienced in the use of ILI technology;

       b.     experienced in pipeline repair and maintenance, including, but not limited to,

              assessment and repair of defects, close interval surveys and maintenance of

              cathodic protection systems, and exposed and shallow pipe remediation;

       c.     experienced in monitoring third party excavation near pipelines ; and

       d.     familiar with surveying and the use of surveying data, as well as the placement

              and content of pipeline markers .

       The proposed consultants shall not be present employees or contractors of Colonial, or

       present employees of any contractor of Colonial . Within 30 days of receiving the list of


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       proposed consultants, EPA shall approve or disapprove each member of the list, which

       approval shall not be unreasonably withheld . Within 30 days after receipt of EPA's

       approval, Colonial shall select one contractor from those contractors approved by EPA

       and shall enter into the contract described in Paragraphs 16 and 18 . In the event the

       contractor(s) approved by EPA are no longer available or willing to accept the work

       described in Paragraph 18 when notified of their selection by Colonial, then Colonial

       shall select another contractor approved by EPA and enter into the contract described in

       Paragraphs 16 and 18 within 30 days. If EPA disapproves of all of the proposed

       consultants on Colonial's list, den Colonial shall submit another list of proposed

       contractors to EPA within 30 days of receipt of EPA's written notice disapproving of the

       contractors on the previous list . If after Colonial has submitted a third list of contractors,

       which must be submitted within 30 days of receipt of written notice disapproving of all of

       the contractors on Colonial's second list, the parties are unable to agree on an IMC, the

       parties agree to resolve the selection of the IMC through the dispute resolution process in

       Section XN.

18 .   Duties of the Independent Monitoring Contractor . Colonial's contract with the

       Independent Monitoring Contractor shall provide that the Independent Monitoring

       C ontiaciur shall perionn the following duties :

       a.      review Colonial's written Integrity Management Program, Maintenance Manual

               and Damage Prevention Program to ensure that Colonial has made and maintained

               the designations and incorporations required by Section VI of this Consent

               Decree;


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      b.     review the information made available by Colonial pursuant to Section IX of this

             Consent Decree;

             submit quarterly reports to EPA (with copies to Colonial) to assess whether

             Colonial has made and maintained the designations and incorporations required in

             Section VI of this Consent Decree and to monitor Colonial's activities under this

             Consent Decree in the following areas : (i) inspection for and repair of pipeline

             defects; (ii) inspection and repair of the Pipeline's cathodic protection system ; (iii)

             right-of-way reclamation and related maintenance; (iv) monitoring of third-party

             excavation ; and (v) depth-of-cover surveys and water crossing inspections and

             repair of exposed pipe or shallow cover; and

      d.     make available to EPA, at its request, any documentation provided by Colonial .

19.   Replacement Procedure. If the Independent Monitoring Contractor becomes unable or

      unwilling to perform or complete die duties described in Paragraph 18, or for other good

      cause, Colonial and EPA shall confer in good faith regarding whether or not Colonial and

      EPA need to select a replacement Independent Monitoring Contractor. If Colonial and

      EPA agree on the need to select a replacement Independent Monitoring Contractor,

      Colonial and EPA shall select the replacement Independent Monitoring Contractor in

      accordance with the selection procedures in Paragraph 17 of this Consent Decree. If

      Colonial and EPA do not agree on the need to select a replacement Independent

      Monitoring Contractor, either Colonial or EPA may invoke the dispute resolution

      procedures in Section XN of the Consent Decree . Replacement of the Independent

      Monitoring Contractor may constitute a force nrojeure event pursuant to Section XIII of


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      this Consent Decree. For the purposes of this Paragraph, "EPA" shall mean Section

      Chief, North Enforcement and Compliance Section, RCRA Enforcement and Compliance

      Branch, EPA Region 4, or his designee.

20.   Quarterly Reports . Once Colonial has retained the Independent Monitoring Contractor

      pursuant to Paragraph 17 of the Decree, the Independent Monitoring Contractor shall

      provide certified Quarterly Reports to EPA in accordance with the requirements of this

      Paragraph. The first Quarterly Report shall be due within 90 days of the close of the

      calendar year quarter after EPA has approved the Independent Monitoring Contractor

      pursuant to Paragraph 17 of the Decree with subsequent reports due within 90 days of the

      close of each calendar year quarter thereafter . Each Quarterly Report shall include:

      a.     copies of any modifications to the following documents, including the initial

             designation required by Paragraph 8 and the initial incorporations required by

             Paragraphs 9-14, as required by Section VI of this Decree, and any copies of

             subsequent modifications, if any, relevant to the obligations required by Section

             VI:

             (i)     Colonial's written Integrity Management Program;

             (ii)    Colonial's Maintenance Manual;

             (iii)   Colonial's Damage Prevention Program; and

             (iv)    Colonial's Engineering Standards;

      b.     summaries or descriptions of all close interval surveys conducted and not

             previously reported, in accordance with Paragraph 9 ;

      c.     summaries or descriptions of all cathodic protection deficiencies, in accordance


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      with Paragraph 10 ;

d.    information on exposed and shallow pipe, in accordance with Paragraph 14 ;

e.    a description of Colonial's activities not previously reported in the following

      areas:

      (i)      internal line inspections or other investigations for pipeline defects ;

      (ii)     defect assessments and repairs ;

      (iii)    performance of close interval surveys and repairs to pipeline coating or

               cathodic protection ;

      (iv)     right-of-way reclamation and related maintenance;

      (v)      monitoring of third-party excavation ;

      (vi)     depth-of-cover surveys and water crossing inspections ; and

      (vii)    remediation of exposed and shallow pipe .

      any failure to meet the requirements of the Decree that occurred or remained

      unresolved at any time during the reporting period, die reasons for any such

      failure to comply, and all actions taken or planned to correct failures to comply

      with this Consent Decree during die reporting period, including any known delays

      or other problems that may affect compliance with this Decree ; and

      the amount of stipulated penalties and interest, if any, accrued as of the last day of

      the reporting period as a result of noncompliance with the Consent Decree,

      including:

      (I)      a description of each violation and the date noncompliance began and

               ended, if applicable ;

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               (ii)    a summary of the calculation of die amount of the stipulated penalty for

                       each violation as of the last day of the reporting period ; and

               (iii)   a description of each violation for which Colonial has submitted to EPA

                       an unresolved force nrnjeure claim or intends to submit a force majeure

                       claim pursuant to Section XIII of this Consent Decree.

        Before preparation and submittal of each Quarterly Report, the WC shall consult with

        Colonial on all of the above contents of the Quarterly Report .

21 .    Neither Colonial nor the United States shall be bound by the statements, conclusions or

        opinions of the Independent Monitoring Contractor . However, if Colonial violates any

        requirement of this Consent Decree, Colonial shall be liable for stipulated penalties to the

        United States, unless excused by force majeure, pursuant to Section XIII, regardless of

        die statements, conclusions or opinions of the Independent Monitoring Contractor .

VIII.   PAYMENT OF CIVIL PENALTIES

22 .    Within thirty days of the effective date of this Consent Decree, Colonial shall pay to the

        United States a civil penalty of $34,000,000.00.

23 .    Colonial shall make the payment described in Paragraph 22 in the manner specified in

        Section XII of this Consent Decree .

24 .    ii any payment required by Paragraph 22 of this Decree is not paid when due, Colonial

        shall pay stipulated penalties in accordance with Section XI, and interest in accordance

        with Section XII.

IX.     REPORTING REQUIREMENTS

25 .    During the pendency of this Consent Decree, Colonial shall make available to the


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      Independent Monitoring Contractor any and all information necessary for the Independent

      Monitoring Contractor to produce the quarterly reports required in Paragraph 20 of this

      Consent Decree. Colonial shall also make available to the Independent Monitoring

      Contractor the information required in Paragraphs 9, 10 and 14 of this Consent Decree.

26.   Certifications . Pursuant to Paragraphs 15 and 71 when this Consent Decree requires

      Colonial to certify a report or any other submission or provision of information, Colonial

      shall submit the following written statement with the submission, signed by a responsible

      corporate official :

      I certify under penalty of law that this submission vas prepared under
      my direction or supervision in accordance with a system designed to assure that
      qualified personnel properly gather and evaluate the information submitted . I
      further certify under penalty of law that, to the best of my knowledge, based on
      my reasonable inquiry of the person or persons who manage the system, or those
      persons directly responsible for fathering the information, the information
      submitted is true, accurate, and complete . I am aware that there are significant
      penalties for submitting false information, including the possibility of fine and
      imprisonment for knowing violations .

      Pursuant to Paragraph 20 when this Consent Decree requires the Independent Monitoring

      Contractor to certify a report or any other submission or provision of information, the

      Independent Monitoring Contractor shall submit the following sided written statement

      with the submission :

      i certify that this submission was prepared under my direction or supervision in
      accordance with a system designed to assure that qualified personnel properly gather and
      evaluate the information submitted. I further certify that, to the best of my knowledge,
      based on my reasonable inquiry of the person or persons who manage the system, or those
      persons directly responsible for gathering the information, the information submitted is
      true, accurate, and complete.




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X.     SITE ACCESS

27.    From the effective date of this Consent Decree until its termination date as described in

       Section XXILi Colonial agrees to provide the Independent Monitoring Contractor, and all

       persons performing actions at the direction of the Independent Monitoring Contractor,

       upon reasonable notice and with consideration of operational impacts, prompt access at

       all reasonable times to the Pipeline System, employees, and all property on which the

       Pipeline System is located, consistent with Colonial's right of access, for the purposes of

       conducting any activity related to this Consent Decree including, but not limited to,

       assessing, monitoring, or verifying compliance with the terms of this Consent Decree, and

       verifying any data or information submitted by Colonial pursuant to this Consent Decree.

28 .   Notwithstanding any provisions of this Consent Decree, the United States retains all of its

       access authorities and rights, including enforcement authorities related thereto, pursuant

       to the CWA and any oilier applicable statutes or regulations .

XI .   STIPULATED PENALTIES

29 .   Colonial shall be liable to the United States for stipulated penalties in the amounts set

       forth in Paragraphs 30 and 31 for failure to comply with the requirements of this Consent

       Decree, unless excused pursuant to Section XIII . "Noncompliance" by Colonial shall

       include failure iv complete the requirements of this Consent Decree within the time

       allowed in the Decree in accordance with all applicable requirements of law.




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30   The following stipulated penalties shall accrue per violation per day for any

     noncompliance identified in Subparagraphs a and b below:

     Penalty Per Noncompliance                      Period of Noncompliance

     $500 per day or portion thereof                1 s[ through 15th day

     $1,250 per day or portion thereof              16th through 30th day

     $2,500 per day or portion thereof              31 st day and beyond

     a.     Failure to timely pay civil penalties in accordance with the terms of Section VIII.

     b.      Failure to comply with the requirements in this Consent Decree oilier than the

             reporting requirements specified in Paragraph 31 below.

31   The following stipulated penalties shall accrue per violation per day for any failure to

     comply with the reporting requirements specified in Sections VII and IX:

     Penalty Per Noncompliance                      Period of Noncompliance

     $250 per day or portion thereof                1 st through 15th day

     $500 per day or portion thereof                16th through 30th day

     $1,250 per day or portion thereof              31st day and beyond

32   All stipulated penalties shall begin to accrue on the day after the violation occurs, and

     shall continue to accrue through the final day of the correction of the noncompliance.

     i~oihing herein shall prevent the simultaneous accrual of separate penalties for separate

     violations of this Consent Decree.

33   If EPA determines that Colonial has failed to comply with a requirement of this Consent

     Decree, EPA may give Colonial written notification of the same and describe the

     noncompliance . EPA may send to Colonial a written demand for the payment of


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      penalties. Stipulated penalties shall accrue as provided in Paragraph 32 of this Consent

      Decree, and shall be due and owing, however, regardless of whether or not EPA has

      notified Colonial of a violation. Colonial shall pay the stipulated penalties specified in

      EPA's written demand within 30 days from the date of receipt of EPA's demand for

      payment unless :

      a.     Colonial has submitted to EPA pursuant to Paragraph 44 of this Consent Decree a

             written claim that a delay in compliance is caused by a force majeure event

             regarding which EPA has not issued a decision pursuant to Paragraph 45 of this

             Consent Decree; or

      b.     Colonial has submitted to EPA a written Notice of Dispute pursuant to

             Paragraph 48 of this Consent Decree, in which case the date that payment of any

             stipulated penalties is due shall be governed by Paragraph 34 of this Consent

             Decree .

34.   Penalties shall continue to accrue, as provided in Paragraph 32 of this Consent Decree,

      during any dispute resolution period, but need not be paid until the following:

      a.     If the dispute is resolved by agreement or by a decision of EPA that is not

             appealed to this Court, accrued penalties determined to be owing shall be paid to

             the United Mates within 30 days of the date of the agreement or date of receipt of

              EPA's decision ; or

      b.     If the dispute is appealed to this Court, and the United States prevails in whole or

             in pan, Colonial shall pay all or that portion of accrued penalties determined by

             the Court to be owed to the United States within 60 days of the date of the Court's


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                 decision or order.

35 .   The payment of stipulated penalties shall not affect Colonial's obligation to satisfy all of

       the requirements of this Consent Decree .

36.    In the event that Colonial prevails in a claim subject to dispute resolution under this

       Consent Decree, Colonial shall not owe any stipulated penalties associated with such

       claim .

37.    Nothing in this Consent Decree shall be construed as limiting the ability of the United

       States to seek any other remedies or sanctions available by virtue of Colonial's failure to

       comply with the requirements of this Consent Decree or any applicable statutes or

       regulations .

38 .   Notwithstanding any other provision of this Section, the United States may, in its

       unreviewable discretion, in writing waive payment of any portion of the stipulated

       penalties that have accrued pursuant to this Consent Decree.

XII.   PAYMENT AND RELATED MATTERS

39.    Colonial shall make the payments described in Section VIII by Fedwire Electronic Funds

       Transfer (EFT) to the United States Department of Justice, in accordance with current

       EFT procedures and instructions to be provided to Colonial by the Office of the United

       States Attorney for the Northern District of Georgia. The payments shall reference die

       Civil Action Number assigned to this case and DOJ Number 90-5-1-1-4367, and shall

       specify that the payments are made toward CWA civil penalties to be deposited into die

       Oil Spill Liability Trust Fund pursuant to 31 U.S .C . § 1321(s), § 4304 of Pub . L. No . 101-

       380, and 26 U .S.C . § 9509(b)(8) . Any funds received after 11 :00 a.m . Eastern Time shall


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       he credited on the next business day. Colonial shall submit to the United States, as

       provided in Section XVI, notice of all payments made pursuant to this Paragraph within

       10 days of the date of the payment .

40.    Colonial shall make the payments described in Section XI by EFT to the United States

       Department of Justice, in accordance with current EFT procedures and instructions to be

       provided to Colonial by the Office of the United States Attorney for the Northern District

       of Georgia . The payments shall reference the Civil Action Number assigned to this case

       and DOJ Number 90-5-1-1-4367, and shall specify that the payments are for stipulated

       penalties to be deposited into the United States Treasury pursuant to 31 U .S .C . § 3302 .

       Any funds received after 11 :U0 a.m . Eastern Time shall be credited on the next business

       day. Colonial shall submit to the United States, as provided in Section XVI, notice of all

       payments made pursuant to this Paragraph within 10 Days of the date of the payment .

41 .   If Colonial fails to timely make any payment required pursuant to Section VIII or Section

       XI, then, commencing on the day after payment is due, Colonial shall be liable to the

       United States for interest on the unpaid balance at the composite prime rate computed by,

       and published in the Wall Street Journal on the date that payment was due, and any costs

       of enforcement and collection incurred pursuant to the Federal Debt Collection Procedure

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42 .   The United States shall be deemed a judgment creditor for purposes of collection of any

       penalties, interest . and expenses of enforcement and collection pursuant to this Consent

       Decree. Colonial specifically acknowledges that, pursuant to 26 U.S .C . § 1620, penalty

       payments made pursuant to Sections VIII and XI of this Consent Decree shall not be


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         deducUble for federal tax purposes .

XIII .   FORCE MAJEURE

43 .     Colonial's obligation to comply with the requirements of this Decree shall only be

         deferred to the extent and for the duration that the delay is caused by force majeure.

         "Force niajeure," for purposes of this Consent Decree, is defined as an event arising from

         causes beyond the control of Colonial, or of any entity controlled by Colonial, that delays

         or prevents the performance of any obligation pursuant to this Consent Decree despite

         Colonial's best efforts to fulfill the obligation . The requirement that Colonial exercise

         "best efforts to fulfill the obligation" includes using best efforts to anticipate any potential

         force majeure event and best efforts to anticipate and address the effects of any potential

         force majeure event (1) as it is occurring; and (2) following the potential force nrajeure

         event, such that any delay is avoided or minimized to the greatest extent possible . "Force

         Mnjeure" does not include financial inability to perform an obligation required by this

         Consent Decree .

44 .     If any event occurs or has occurred that may delay the performance of any obligation

         pursuant to this Consent Decree, whether or not caused by a force majeure event,

         Colonial shall notify orally the Section Chief, North Enforcement and Compliance

         Section, RCFcA Enforcement and Compliance Branch, SPA Region 4, or his designee,

         within 72 hours of when Colonial first knew, or in the exercise of reasonable diligence

         under the circumstances should have known, that the event might cause a delay. Such

         oral notification may be given by leaving a voice mail message with the Section Chief,

         North Enforcement and Compliance Section, RCRA Enforcement and Compliance


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       Branch, EPA Region 4, or his designee, if that person is not available. Within 30 days

       thereafter, Colonial shall provide a written notice to EPA explaining the reasons for the

       delay, the anticipated duration of the delay, all actions taken or planned to prevent or

       minimize the delay, a proposed schedule for implementation of any measures planned to

       prevent or mitigate the delay or the effect of the delay, and Colonial's rationale for

       attributing such delay to a force mqjeure event if Colonial intends to assert such a claim .

       Colonial shall include with any notice all available documentation supporting its claim

       that the delay was attributable to a force majeure event, which Colonial may supplement

       as additional documentation becomes available. Failure to provide written notice to EPA

       within 30 days containing the required information, and including all available

       documentation, shall preclude Colonial from asserting any claim offorce majeure for that

       event. EPA may, in its unreviewable discretion, in writing waive the procedural

       requirements of this Paragraph. Colonial shall be deemed to know of any circumstance of

       which Colonial, or any entity controlled by Colonial, knew or should have known .

45 .   If EPA agrees that the delay or anticipated delay is attributable to a force mnjeure event.

       EPA will extend, in writing to Colonial, the time for performance of the obligations

       pursuant to this Consent Decree that are affected by the force mqjeure event for such time

       as EPA deems necessary to complete those obligations. M extension of the time for

       performance of the obligations affected by the force majeure event shall not, of itself,

       extend the time for performance of any other obligation . If EPA does not agree that the

       delay or anticipated delay has been or will be caused by a force niajeure event, EPA will

       notify Colonial in writing of (1) EPA's decision and basis thereof regarding Colonial's


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       force majeure claim; and (2) the amount of any demand for the payment of stipulated

       penalties, pursuant to Paragraph 33 of this Consent Decree, related to the rejected force

       rnajeire claim . If EPA agrees that the delay is attributable to a force majeure event, EPA

       will notify Colonial in writing of the length of the extension, if any, for performance of

       the obligations affected by the force mojeure event. My extension of time pursuant to

       this Section shall not be valid unless the extension of time is confirmed in writing as

       provided in this Paragraph.

46 .   The dispute resolution procedures in Section XN shall apply to any dispute regarding

       EPA's decision regarding a force n:njeure claim that Colonial asserts pursuant to

       Paragraph 44 of this Consent Decree. If Colonial elects to invoke the dispute resolution

       procedures in Section XIV, it shall do so no later than 30 days from the date of receipt of

       EPA's written decision regarding a force nuy'eur-e claim pursuant to Paragraph 45 of this

       Consent Decree.

XIV.   DISPUTE RESOLUTION

47 .   The dispute resolution procedures of this Section shall be the exclusive mechanism to

       resolve disputes arising under, or with respect to, this Consent Decree . The procedures

       set forth in this Section, however, shall not apply to actions by the United States to

       enforce obligations of Colonial that Colonial has not timely disputed in accordance with

       this Section .

48 .   ,Any dispute that arises under, or with respect to, this Consent Decree shall in the first

       instance be the subject of good faith, informal negotiations between the Parties. The

       period for informal negotiations shall not exceed 21 days from the time the dispute arises,


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       unless extended by written agreement of the Parties . The dispute shall be considered to

       have arisen upon receipt of a written Notice of Dispute by one party submitted by the

       other party.

49.    If informal negotiations are unsuccessful, EPA's position shall control unless Colonial

       files with the Court a petition to resolve the dispute within 30 days after the conclusion of

       the informal negotiation period . Within 30 days after receiving a petition filed with the

       Court pursuant to this Paragraph, EPA may file a response.

50.    The invocation of dispute resolution procedures pursuant to this Section shall not extend,

       postpone, or affect in any way any obligation of Colonial pursuant to this Consent Decree

       that is not directly in dispute, unless EPA agrees in writing otherwise. Stipulated

       penalties with respect to the disputed matter shall continue to accrue but payment shall be

       stayed pending resolution of the dispute as provided in Paragraph 34 of this Consent

       Decree. Notwithstanding the stay of payment, stipulated penalties shall accrue from the

       first day of noncompliance with any applicable provision of this Consent Decree. If

       Colonial does not prevail on the disputed issue, stipulated penalties shall be assessed and

       paid as provided in Section XI .

XV .   EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS

5i .   reriormance of ail of Colonial's obligations pursuant to this Consent Decree, including

       the payment of civil penalties, resolves any civil claims of the United States against

       Colonial pursuant to Sections 309 and 311 of the CWA, 33 U .S.C . §§ 1319, 1321, for the

       discharges alleged or referred to in the Complaint.

52 .   Nothing in this Decree shall be construed to create any rights in, or grant any cause of


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       action to, any person not a Party to this Consent Decree . The United States expressly

       reserves any and all rights, defenses, claims, demands, and causes of action that it may

       have with respect to any matter, transaction, or occurrence against any person not a Party

       hereto .

53.    Notwithstanding any other provision of this Consent Decree, the United States retains all

       authority and reserves all rights to take any and all response actions authorized by law .

54.    This Consent Decree does not resolve, and the United States expressly reserves claims

       against Colonial related to all other matters including, but not limited to, the following:

       a.         claims based on a failure by Colonial to meet a requirement of this Consent

                  Decree;

       b.         liability for damages for injury to, destruction of, or loss of natural resources, and

                  for the costs of any natural resource damage assessments;

       c.         criminal liability;

       d.         liability pursuant to regulations of the United States Department of

                  Transportation, Research and Special Programs Administration, Office of Pipeline

                  Safety or pursuant to the Pipeline Safety Act, 49 U .S .C . §§ 60101 e[ sey .

       e.         liability pursuant to Subchapter I of OPA, 33 U .S .C . §§ 2701-2719 ; and

                  iiaoiiity for any past, current, or future violation of federal or state law not

                  resolved pursuant to Paragraph 51 of this Consent Decree.

55 .   In any subsequent administrative orjudicial proceeding initiated by the United States for

       civil penalties or injunctive relief, Colonial shall not assert, and may not maintain, any

       defense or claim based upon the principles of waiver, res judicata, collateral estoppel,


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        claim preclusion, issue preclusion, claim-splitting, or other defenses based upon any

        contention that the claims raised by the United States in the subsequent proceeding

        should have been brought in the instant case ; provided, however, that nothing in this

        Paragraph affects the resolution of the civil claims resolved pursuant to Paragraph 51 of

        this Consent Decree.

56.     Colonial hereby covenants not to sue and agrees not to assert any claims in connection

        with the discharges alleged or refereed to in the Complaint, against the United States

        pursuant to the CWA, OPA, or any other federal law, state law, or regulation including,

        but not limited to, any direct or indirect claim for reimbursement from the Oil Spill

        Liability Trust Fund, or pursuant to any other provision of law. Except as provided in

        Paragraph 55, nothing in this Paragraph affects Colonial's ability to assert defenses, if

        any, in any subsequent proceedings for discharges alleged or referred to in the Complaint.

57.     The United States, by consenting to the entry of this Consent Decree, does not warrant or

        aver in any manner that Colonial's complete and satisfactory compliance with this

        Consent Decree will constitute or result in compliance with the CWA or any other federal

        law or regulation .

XVI.    NOTICES

So" .   Whenever, pursuant to the terms of this Consent Decree, a party is required to submit

        written notice, it shall be directed to the individuals at the addresses specified below,

        unless those individuals or their successors give written notice of a change. All notices

        shall be considered effective on receipt, unless otherwise provided .




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AS TO THE UNITED STATES :

As to the United States Department of Justice:

Chief, Environmental Enforcement Section
Environment and Natural Resources Division
United States Department of Justice
Post Office Box 7611
Washington, D .C . 20044-7611
1425 New York Ave., NW
Room 13063
Washington, DC 20005
DOJ #90-5-1-1-4367

United States Attorney
Northern District of Georgia
U.S . Courthouse, Suite 600
75 Spring Street
Atlanta, Georgia 30303

As to the U.S . Environmental Protection Aeency:

Regional Counsel
Environmental Accountability Division
Region 4
United States Environmental Protection Agency
Atlanta Federal Center
61 Forsyth Street, S.W .
Atlanta, GA 30303-3104

Section Chief
North Enforcement and Compliance Section
RCRA Enforcement and Compliance Branch
Region 4
'united States Environmental Protection Agency
Atlanta Federal Center
61 Forsyth Street, S . W.
Atlanta, GA 30303-3104

AS TO COLONIAL PIPELINE COMPANY :

Kalin Jones, Vice President and General Counsel
Colonial Pipeline Company


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       1185 Sanctuary Parkway, Suite 100
       P .O . Box 1624 (30009-9934)
       Alpharetta, GA 30004-4738

       Robert Hogfoss, Esq .
       Hunton and Williams
       600 Peachtree Street, N . E., Suite 4100
       Atlanta, Georgia 30308-2216


XVIL RECORD RETENTION/ACCESS TO INFORMATION

59.    In addition to complying with any record-keeping requirements pursuant to applicable

       law and regulations, regardless of any contrary corporate retention policy, Colonial shall

       preserve and retain, during the pendency of this Consent Decree and for a minimum of

       one year after termination of this Consent Decree, all records, documents and information

       in the possession, custody, or control of Colonial, or which come into Colonial's

       possession, custody, or control, that relate in any manner to (1) repairs, modifications, or

       maintenance to the Pipeline System for the specific activities to be monitored by the

       Independent Monitoring Contractor pursuant to Paragraphs 18 and 20; and (2)

       implementation of this Consent Decree.

60 .   At any time prior to termination of this Consent Decree, and for one year thereafter,

       Colonial shall provide, subject to Paragraph 62, to the United States, within 45 days of

       the receipt of a written request describing the materials requested and the specific basis

       for the request, all documents and information responsive to die request, within the

       possession, custody, or control of Colonial, related to the implementation of the Consent

       Decree. Depending on the scope of the request, and pursuant to Paragraph 66, the parties

       may modify the schedules for providing information, upon request.


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61 .   Colonial may assert business confidentiality claims covering part or all of the documents

       or information provided to the United States pursuant to this Consent Decree to the extent

       authorized by, and in accordance with, 40 C.F.R . Pan 2. Documents or information that

       EPA determines to be confidential will be afforded the protection specified in 40 C .F.R.

       Part 2, Subpart B. If no claim of confidentiality accompanies documents or information

       when they are submitted to EPA, or if EPA has notified Colonial that the documents or

       information are not confidential pursuant to applicable law, the public may be given

       access to such documents or information without further notice to Colonial.

62.    Colonial may assert that certain documents, records and other information are privileged

       pursuant to the attorney-client privilege or any other privilege recognized by federal law.

       If Colonial asserts such a privilege instead of providing documents, it shall provide the

       United States with the following: (1) the title of the document, record, or information; (2)

       the date of the document, record, or information ; (3) the name and title of the author of

       the document, record, or information; (4) the name and title of each addressee and

       recipient ; (5) a description of the contents of the document, record, or information; and

       (6) the privilege asserted by Colonial. Colonial will not assert a privilege for Independent

       Monitoring Contractor quarterly reports or information and data provided to the

       Independent Monitoring Contractor that forms the basis of the quarterly reports required

       by the terms of this Consent Decree. If a claim of privilege applies only to a portion of a

       document, the document shall be provided to the United States in redacted form to mask

       the privileged information only, and a claim of appropriate privilege, as described above

       shall be asserted for redacted elements .


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63 .   Nothing in this Consent Decree shall limit the access and information-gathering

       authorities and rights of the United States pursuant to any federal law or regulation,

       including without limitation, related enforcement authorities pursuant to the CWA and

       OPA.

XVIIL RETENTION OF JURISDICTION

64.    This Consent Decree shall be considered an enforceable judgment for purposes of

       post-judgment collection in accordance with the provisions of the Consent Decree,

       Rule 69 of the Federal Rules of Civil Procedure, and other applicable federal statutory

       authority .

65 .   This Court retains jurisdiction over both the subject matter of this Consent Decree and the

       Parties for the duration of the performance of the terms and provisions of this Consent

       Decree for the purpose of enabling either of the Parties to apply to this Court at any time

       for such further order, direction, and relief as may be necessary or appropriate for the

       construction or modification of this Consent Decree, or to effectuate or enforce

       compliance with its terms, or to resolve disputes in accordance with Section XN, and

       retains jurisdiction beyond the termination of this Consent Decree under Section XXIII to

       (1) assess any stipulated penalties that may have accrued during the term of the Decree;

       ~2j enforce the requirements of Section XVIl; and (3) to assess any stipulated penalties

       that may have accrued after for violations of any requirement of Section XVII occurring

       after termination of the Decree.




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XIX .   MODIFICATION

66.     Modifications to the schedules in this Consent Decree may be made without consent of

        the Court by written agreement between Colonial and EPA. Except as provided in the

        preceding sentence, no material modifications shall be made to this Consent Decree

        without written notification to and written approval by the United States, Colonial, and

        the Court. Modifications that do not materially alter Colonial's obligations pursuant to

        this Consent Decree may be made without consent of the Court by written agreement

        between the Parties.

XX.     LODGING AND OPPORTUNITY FOR PUBLIC COMMENT

67 .    This Consent Decree shall be lodged with the Court for a period of at least 30 days for

        public notice and comment in accordance with 28 C .F.R . § 50 .7. The United States

        reserves the right to withdraw or withhold its consent to the Consent Decree if the United

        States becomes aware of facts or considerations that indicate to the United States that the

        Consent Decree is inappropriate, improper, or inadequate . Colonial agrees not to oppose

        entry of this Consent Decree or to challenge any provision of this Consent Decree unless

        the United States has notified Colonial in writing that it no longer supports entry of the

        Consent Decree. Colonial consents to entry of this Consent Decree without further

        ounce.

68.     If for any reason the Court declines to approve this Consent Decree in the form presented,

        this agreement is voidable at the sole discretion of any Party and the terms of the

        agreement shall not be used as evidence in any litigation.




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7{XI .   EFFECTIVE DATE

69.      The effective date of this Consent Decree is that date upon which it is entered by the

         Court.

?{XII. INTEGRATION

70.      This Consent Decree constitutes the final, complete and exclusive Consent Decree and

         understanding between the Parties regarding the settlement embodied in this Consent

         Decree . The Parties acknowledge that there are no representations, agreements, or

         understandings relating to the settlement other than those expressly contained in this

         Consent Decree.

XXIII. TERMINATION

71 .     Not earlier than five years after entry of this Consent Decree, this Decree shall be subject

         to termination, in whole or in part, on motion by either Party after Colonial fully satisfies

         the requirements of this Consent Decree, except those obligations required pursuant to

         Section XVII. At such time as Colonial believes it has fulfilled all such requirements,

         Colonial shall so certify to the United States . Not earlier than 30 days after such

         certification, either party may apply to the Court for termination of the Consent Decree .

         The obligations set forth in Section XV and Section XVII shall survive termination of the

         i-unseni Decree as contractual obligations .

XXIV. SIGNATORIES/SERVICE

72 .     The Parties' undersigned representatives certify that they are fully authorized to enter into

         the terms and conditions of this Consent Decree and to execute and legally bind such

         Party to this document .


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73 .   Colonial shall identify, on the attached signature page, [lie name, address, and telephone

       number of an agent who is authorized to accept service by mail on behalf of Colonial

       with respect to all matters arising under or relating to this Consent Decree .

XXV.COSTS

74.    Each party shall bear its own costs and attorneys' fees in the action resolved by this

       Consent Decree.




Dated this l° day of                          , 2003 .




                                                             T. CAMP      '
                                                             ?D STATES DISTRICT JUDGE




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THE UNDERSIGNED PARTIES enter into this Consent Decree relating to United States v.
Colonial Pipeline Co., Civil Action No. 1 :00-CV-3142 JTC:


                                  FOR THE UNITED STATES OF AMERICA


Date: March 31, 2003                /~yrti.
                                  THOMAS L. SANSONETTI
                                  Assistant Attorney General
                                  Environment and Natural Resources Division
                                  United States Department of Justice

Date:   ~` nc h 31, ~~~            ear,",
                                  CATHERINE BP.NERJEE ROJKO
                                  Senior Counsel
                                  DRENAYEL .HOUSTON
                                  Senior Attorney
                                  SCOTT BAUER
                                  AMY GILLESPIE
                                  CHRISTY KING
                                  Trial Attorneys
                                  CHERYL T. ROSE
                                  DOJ Special Attorney
                                  PATRICK M. CASEY
                                  Senior Attorney
                                  United States Department of Justice
                                  Environment and Natural Resources Division
                                  Environmental Enforcement Section
                                  Benjamin Franklin Station
                                  Post Office Box 7611
                                  Washington, D.C . 20044-7611
                                  Telephone: 202-305-0300




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             Case 1:00-cv-03142-JTC Document 192 Filed 06/16/03 Page 42 of 45



     THE UNDERSIGNED PARTIES enter into this Consent Decree relating to United States v .
     Colonial Pipeline Co . , Civil Action No . 1 :00-CV-3142 JTC:

     Date : ~3IZ ~'-la 3                                     ,/       I ~L~
                                       SALL YAT
                                       Acting United54tes Attorney

     Date:   3   Z
                                       LISA"COOPER
                                       Assistant U.S . Attorney
                                       Northern District of Georgia
                                       Bar No . 186165
                                       U.S . Courthouse, Suite 600
                                       75 Spring Street, SW
                                       Atlanta, Georgia 30303
                                       Telephone 404-581-6249




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THE UNDERSIGNED PARTIES enter into this Consent Decree relating to United States v .
Colonial Pipeline Co., Civil Action No. 1 :00-CV-3142 JTC :


                                  FOR THE UNITED STATES ENVIRONMENTAL
                                  PROTECTION AGENCY




Date:   ;5- A , [03
                                          ETER SUAREZ
                                  =t Administrator for
                                  Enforcement and Compliance Assurance
                                  United States Environmental Protection Agency


OF COUNSEL :

DAVID DRELICH
Senior Attorney
Office of Enforcement and Compliance Assurance
United States Environmental Protection Agency
Mail Code 2243A
1200 Pennsylvania Avenue, N.W.
Washington, DC 20460




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. . ..                                                               f
                 Case 1:00-cv-03142-JTC Document 192 Filed 06/16/03 Page 44 of 45



         THE UNDERSIGNED PARTIES enter into this Consent Decree relating to United States v.
         Colonial Pipeline Co. , Civil Action No. 1 :00-CV-31 2 JTC:


         Date: I I ~7 /t~'                                                  /
                                              I PP~LMER JR.
                                            R-tgronal Administrator, Region 4 ~~
                                            United States Environmental ProtectionAsencv

         OF COUNSEL :

         GWEN FITZ-HENLEY
         Senior Attorney
         GREGORY TAN
         Assistant Regional Counsel
         United States Environmental Protection Agency
         Region 4
         61 Forsyth Street
         Atlanta, GA 30303-3104




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. .            Case 1:00-cv-03142-JTC Document 192 Filed 06/16/03 Page 45 of 45



      THE UNDERSIGNED PARTIES enter into this Consent Decree relating to United States v.
      Colonial Pipeline Co ., Civil Action No. 1 :00-CV-3142 JTC:


                                           FOR COLONIAL PIPELINE COMPANY :




      Date :      .-o- 2.03
               3 'Z                          4          .
                                           KALIN JO
                                           Senior Vice P esident and General Counsel
                                           Colonial Pipeline Company
                                           1185 Sanctuary Parkway, Suite 100
                                           P .O. Box 1624 (30009-9934)
                                           Alpharetta, Georgia 30004-4738




               Agents Authorized to Accept Service on Behalf of Colonial Pipeline Company:


                                           ROBERT HOGFOSS, ESQ.
                                           Hunton & Williams
                                           600 Peachtree Street, N.E., Suite 4100
                                           Atlanta, Georgia 30308-2216
                                           (404)888-4042

                                           Counsel for Colonial Pipeline Company




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